Case 18-15907-elf   Doc 30   Filed 12/21/18 Entered 12/21/18 12:51:01   Desc Main
                             Document      Page 1 of 8
Case 18-15907-elf   Doc 30   Filed 12/21/18 Entered 12/21/18 12:51:01   Desc Main
                             Document      Page 2 of 8
Case 18-15907-elf   Doc 30   Filed 12/21/18 Entered 12/21/18 12:51:01   Desc Main
                             Document      Page 3 of 8
Case 18-15907-elf   Doc 30   Filed 12/21/18 Entered 12/21/18 12:51:01   Desc Main
                             Document      Page 4 of 8
Case 18-15907-elf   Doc 30   Filed 12/21/18 Entered 12/21/18 12:51:01   Desc Main
                             Document      Page 5 of 8
Case 18-15907-elf   Doc 30   Filed 12/21/18 Entered 12/21/18 12:51:01   Desc Main
                             Document      Page 6 of 8
Case 18-15907-elf   Doc 30   Filed 12/21/18 Entered 12/21/18 12:51:01   Desc Main
                             Document      Page 7 of 8
Case 18-15907-elf   Doc 30   Filed 12/21/18 Entered 12/21/18 12:51:01   Desc Main
                             Document      Page 8 of 8
